        Case 6:21-cv-00474-AA                   Document 50-6                Filed 08/06/21   Page 1 of 5




                                                                                                              P.O. Box 17
                                                                                                 Point Lookout, MO 65726
                                                                                                            www.cofo.edu


                                                           June 9, 2017                                 Phone 417-690-2470




  Ms. Candice Jackson, Acting Assistant Secretary
  U.S. Department of Education, Office for Civil Rights
  Lyndon Baines Johnson Department of Education Building
  400 Maryland Avenue , SW
  Washington, D.C. 20202-1100

  Re: College of the Ozarks' Request for Title IX Religious Exemption

  Dear Ms. Jackson,

           The College of the Ozarks is a four year, accredited Christian college whose vision is "to
  develop citizens of Christ-like character who are well-educated, hard-working, and patriotic."' It
  is affiliated with the Presbytery of Mid-America, Evangelical Presbyterian Church. College of the
  Ozarks has been committed to the historic Christian faith and the Protestant tradition from its
  founding and continues to remain so today. 2 It follows the doctrine expressed in the Apostles'
  Creed, Nicene Creed, and, most importantly, the authority of Scripture.

          College of the Ozarks is completely controlled by its Board of Trustees. 3 The Bylaws
  require the following as qualifications for its Trustees:

           Trustees shall be dedicated Christians who express their commitment through
           active involvement in a local christian church and the living of a life that is
           appropriate for those who serve as role models for college students and for one
           another. Trustees shall share the College's faith commitment to the historic
           evangelical Christian faith and Protestant tradition. Trustees shall annually affirm
           adherence to the Apostles' and Nicene Creeds and dedication to the inspiration and
           authority of Scriptures. 4

  Furthermore, the Bylaws describe the purpose of the College as follows:

           The purpose of the College of the Ozarks is to provide the advantages of a Christian
           education for youth of both sexes, especially for those found worthy, but who are

  1 Exhibit 3: College of the Ozarks Vision; Exhibit 1: Articles   of Incorporation.
  2
    Exhibit 11: History of the College of the Ozarks.
  3 Exhibit 2: Bylaws, Article Ill, Section l.
  4 Exhibit 2: Bylaws, Article Ill, Section 2.




                        in 1906 as The Schoolof the Ozarksto servefinancia!l;y
  SPH-2157450-lncorporated                                                   needyyouthfrom the Ozarksregion



EXHIBIT F                                                                                                            1
           Case 6:21-cv-00474-AA              Document 50-6             Filed 08/06/21           Page 2 of 5




            without sufficient means to procure such education. To carry out this purpose, the
            following goals have been defined: academic, vocational, Christian, patriotic, and
            cultural. 5

           College of the Ozarks' Christian beliefs permeate its hiring decisions, admission
  requirements, and daily academic and cultural environment. Faculty are expected to
  support the College's ethical and moral positions, including those on the sanctity of human
  life, traditional marriage, and religious liberty. Faculty are also expected to maintain active
  involvement in a local church and model Christian virtues for students. 6 Faculty members'
  Christian commitment, evidenced by church membership and attendance, is considered as
  a part of the evaluation process.

           The College's students clearly know that College of the Ozarks is a Christian
  institution which prioritizes the development of Christian character traits. 7 The Student
  Handbook clearly describes its adherence to Christianity and the Christian goal. 8 It includes
  the Apostles' and Nicene Creeds. Furthermore, the College requires chapel attendance and
  provides information on outside religious organizations.

         As described clearly in the faculty, staff, and student handbooks, College of the
  Ozarks is guided by a long-standing traditional, biblical worldview which reflects the
  understanding that human sexuality is a gift from God, and that:

       •    sex assigned at birth is a person's God-given, objective gender, whether or not it
            differs from internal sense of "gender identity" (Genesis I :27; Leviticus 18:22;
            Matthew 19:4; Romans 1:26-27; l Corinthians 6:9-10);
       •    sexual relations are for the purpose of the procreation of human life and the uniting
            and strengthening of the marital bond in self-giving love, pmposes that are to be
            achieved solely through heterosexual relationships in marriage (Genesis 1:28;
            Exodus 20:14; Proverbs 5:15-23; Matthew 19:5; 1 Corinthians 6:12-20; 7:2-5; l
            Thessalonians 4:3). 9

     College of the Ozarks also believes in the sanctity of human life from the moment of
  conception. 10 It clearly communicates its vision and expectation to faculty in the Employee
  Commitments brochure and in the application process as evidenced in the Faculty
  Applicant Questionnaire. 11 It continues to reinforce its expectation of adherence to


  5 Exhibit 2: Bylaws, Article   II.
  6 Exhibit 4: Faith and Practice Commitments,   Faculty Handbook, p. 37.
  7 Exhibit 9: Student Handbook, pages 65-67; Exhibit 10: Student Admission Documents.
  8
    Exhibit 9: Student Handbook, pages 65-67.
  9 Exhibit 5: lifestyle/SexualityPolicy (Faculty Handbook, p. 40; Staff Handbook, p. 2; Student Handbook, p. xvii).
  10 Exhibit 4: Faith and Practice Commitments, Faculty Handbook, p. 37; Exhibit 8: Employee Commitments


  Brochure.
  11 Exhibit 8: Employee Commitments    Brochures; Exhibit 7: Faculty Applicant Questionnaire.



  SPH-2157450·2




EXHIBIT F                                                                                                              2
          Case 6:21-cv-00474-AA               Document 50-6            Filed 08/06/21         Page 3 of 5




  Christian principles in its faculty evaluation criteria. 12 These beliefs produce concern for
  the impact of possible Office for Civil Rights (OCR) interpretations of Title IX
  requirements.

      Therefore, College of the Ozarks requests that your office acknowledge that the College
  is exempt from Title IX and the following implementing regulations (to the extent they are
  interpreted to reach gender identity or sexual orientation discrimination, and to the extent
  they conflict with the College's belief in and commitment to the sanctity of human life and
  marriage):

      •    34 C.F.R.§ 106.21 (Admission)
      •    34 C.F.R.§ 106.22 (Preference in Admission)
      •    34 C.F.R.§ 106.23 (Recruitment)
      •    34 C.F.R.§ 106.31 (Education Programs or Activities)
      •    34 C.F.R.§ 106.32 (Housing)
      •    34 C.F.R.§ 106.33 (Comparable Facilities)
      •    34 C.F.R.§ 106.34 (Access to Classes and Schools)
      •    34 C.F.R. § 106.35 (Access to Institutions of Vocational Education)
      •    34 C.F.R.§ 106.36 (Counseling)
      •    34 C.F.R.§ 106.37 (Financial Assistance)
      •    34 C.F.R.§ 106.38 (Employment Assistance to Students)
      •    34 C.F.R.§ 106.39 (Health and Insurance Benefits and Services)
      •    34 C.F.R.§ 106.40 (Marital or Parental Status)
      •    34 C.F.R.§ 106.41 (Athletics)
      •    34 C.F.R. § 106.42 (Textbooks and Curricular Material)
      •    34 C.F.R.§ 106.43 (Standards for Measuring Skill or Progress in Physical Education
           Classes)
      •    34 C.F.R.§ 106.51-61 (Relating to Employment)

  Thank you for your prompt attention to this matter.




                                                        J rry C. Davis
                                                        President, College of the Ozarks




  12 Exhibit 6: Christian Commitment   and Religious Character and Expectations, Faculty Handbook, p. 6-7; 21.



  SPH-2157450-2




EXHIBIT F                                                                                                        3
         Case 6:21-cv-00474-AA                  Document 50-6              Filed 08/06/21          Page 4 of 5



                             U ITED STATESDEPARTME T OF EDUCATIO
                                                 OFFICE FOR Cl IL RIGHTS
                                                                                          THE ASSISTANT SECRETARY



                                                   January 2, 2018

Jerr C. Davis
Pre idcnt
College of the Ozarks
P.O. Box 17
Point Lookout, MO 65726

Dear President Davis:

I write in re pone to your June 9, 2017, letter to the U.S. Department of Education's Office for
Ci ii Right· (OCR), in -. hich you requested a religious exemption for the College of the Ozarks
(Colleg ) of Point Lookout, Mis ouri, from Title IX of the Educational Amendments of I 972
(Title IX). 20 U. .C. , 1681.

Title IX prohibits discrimination on the basis of sex in any education program or activity
operated by a recipient of Federal financial assistance. Title IX and its implementing regulation
at 34 C.F.R. · 106.12 provide th.at Title IX does not apply to an educational institution that is
controlled by a religious organization to the extent that the application of Title IX would be
inconsistent with the controlling organization's religious tenets. Therefore such educational
in titutions may request an exemption from Title IX by identifying the provisions of Title IX that
connict with a specific tenet of the religious organization. The request must identify the religious
organization that controls the educational institution and specify the tenets of that organization
and the provisions of the law or regulation that conflict with those tenets. An institution may be
considered controlled by a religious organization if it is a school or department of divinity.

Your reque t letter states that the College is affiliated with the Presbytery of Mid-America,
Evangelical Presbyterian hurch and' completely controlled by its Board of Trustees.·' Your
letter explain that the Coll ge's bylaws require trustees to 'share the College's faith
commitment to the historic evangelical Christian faith and Protestant tradition" and •·annually
affinn adherence to the Apostles' and Nicene Creeds." Your letter further explains that '·[fjaculty
member · Christian commitment, evidenced by church membership and attendance, is
considered a part of the evaluation process'· and that the College requires chapel attendance by
student .

Your letter requests exemption from certain provisions of Title IX and its implementing
regulations to the extent that they are interpreted to reach gender identity or sexual orientation
discrimination and to the extent they conflict with the Colleges belief in and commitment to the
sanctity of human life and marriage. ln support of this request, your letter cites its faculty staff,
and student handbooks, explaining that the College 'is guided by a long-standing traditional,
biblical worldview which reflects the understanding that human sexuality is a gift from God''
that ·· ex assigned at birth is a person s God-gi en objective gender whether or not it differs

                                .t()()MAJ{YLANDAVE.S.W.,WASHI         Gro ,DC20202-1100
                                                        www.ed.g ,v
    (he Dep.1rtment of Education' mis~ion i!' to promote student a hien•me11t Jnd prepdration for global comp1..•titive1wss
                               by fa: toring cducatimml excellen e and ensuring eq1ml access.

EXHIBIT F                                                                                                                     4
        Case 6:21-cv-00474-AA          Document 50-6         Filed 08/06/21      Page 5 of 5

Jerry C. Davi -    page 2


from internal sense of· gender identity · ' and that sexual relations are for the purpose of the
procreation of human life and the uniting and strengthening of the marital bond in self-giving
love, purposes that are to be achieved solely through heterosexual relationships in marriage.'·
Your letter further explains that the College "believes in the sanctity of human life from the
moment of conception."'

Your letter states that, for the above reasons, the College is requesting an exemption from the
folio ing regulator provisions to the extent they are interpreted to reach gender identity or
 exual orientation discrimination and to the extent they conflict with the College's belief in and
commitment to the sanctity of human life and marriage:
    • 34 .F.R. § 106.21 (governing admission);
    • 34 C.l◄ .R. I 06.22 (governing preference in admission);
    • 34 C.F.R. § I 06.23 (governing recruitment of students);
    • 34 .F.R. § 106.31 (go eming education programs or activities);
    • 34 C.F.R. § 106.32 (governing housing);
    • 34 .F.R. § I 06.33 (go eming comparable facilities);
    • 34 C.F.R. s I 06.34 (governing access to classes and schools)·
    • 34 C.F.R. § I 06.35 (governing access to institutions of vocational education);
    • 34 C.F.R. § 106.36 (governing counseling)·
    • 34 . F.R. I 06.3 7 (go eming financial assistance);
    • 34 C. F.R. s I 06.38 (governing employment assistance to students);
    • 34 C.F.R. s I 06.39 (governing health and insurance benefits and services);
    • 34 C. F.R. ~ I 06.40 (governing marital or parental status);
    • 34 C.F.R. § I 06.41 (governing athletics);
    • 34 C.F.R. I 06.43 (governing standards for measuring skill or progress in physical
       education classes)· and
    • 34 C.F.R. §§ 106.51-61 (governing employment).

The College is exempt from these provisions to the ex.tent that compliance would conflict with
the controlling organization·s religious tenets.

Plea e note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a complaint
against your institution, we are obligated to determine initially whether the allegations fall within
the exemption here recognized.

I hope this letter fully responds to your request. If you have any further questions, please do not
hesitate to contact me.

 incerely.



@.B-
Acting As i tant Secretary for Civil Rights




EXHIBIT F                                                                                               5
